        Case 1:17-cv-03619-MHC-LTW Document 1-1 Filed 09/18/17 Page 1 of 2
           •               CIVIL COVER SHEET FOR A PRlf~EI1E-                                        CV- 3 6 1 9
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CITY    AVtfJ1+vk .                                STATE    f2l±             COUNTY         F1i7fQfL/
JURISD.                                  CAUSE                      DESCRIPTION

   3                530                  28:2254           Habeas action by a State prisoner challenging state
                                                           convictions or senten·ce.
   3                535                  28:2254d          Habeas action by a State prisoner under a DEATH
                                                           sentence.         SEND TO DISTRICT JUDGE.
   3                530                  28:Z241st         Habeas action by a State prisoner or detainee challenging
                                                           matters otber than conviction or sentence (e.g. parole
                                                           revocation, loss of good time-credit, etc:..).
   2                530                  28:2241fd         Habeas action by a Federal prisoner or detainee
                                                           cballenging matters other than conviction or sentence (e.g.
                                                           parole revocation, loss of good time-credit, etc.).
   3                550         __ 42: 1983pr              State or Federal prisoner civil rights action suing state
                                                           officials not involving prison conditions. (AfKJA "Bivens
                                                           action").
   2                550         __ 28:1331pr               Prisoner civil rights action suing federal officials not
                                                           Involving prison conditions. (AlKJA "Bivens actions").
   3                555         __ 42:1983pr               State prisoner civil rights action involving prison
                                                           conditions.
   2                555         __ 28:1331pr               Prisoner civil rights action suing Federal officials involving
                                                           prison conditions. (AIKJ A "Bivens action"'}.
    2               540                28:1346             Prisoner Federal Tort Claim. (Against U.S.)
    2               540             __ 28: 1361pr          Action to compel U.S. officer to perform a duty
                                                           MANDAMUS.
    4               540                  28:1332           Any prisoner action based on diversity.
                    540
                                                           OTHE~     ___________________________


_____ DOCKER CLERK: Place cover sbeet in acco on top of docket sbeet and file, and FORWARD to
      Magistrate Judge assigned for IFP and/or frivolity determinations.

- ' - _ STAFF LAW CLERK:
        _ _ Pauper's affidavit insufficient or no affidavit
          ___ Complaint or petition not signed or is incomplete
          __ No copies
                 Other: _________________________________________
Case 1:17-cv-03619-MHC-LTW Document 1-1 Filed 09/18/17 Page 2 of 2
